          Case 8:19-cv-00423-WFJ-SPF Document 3 Filed 02/19/19 Page 1 of 6 PageID 67

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


          CHRISTOPHER MARK PARIS, and                                )
         OXEBRIDGE QUALITY RESOURCES                                 )
              INTERNATIONAL, LLC                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. CASE # 8:19-cv-00423
                                                                     )
                  WILLIAM LEVINSON,                                  )
               LEVINSON PRODUCTIVITY                                 )
               SYSTEM, PC, a Pennsylvania                            )
                   Corporation, et al.                               )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) WILLIAM LEVINSON
                                           6 Lexington Court Wilkes Barre
                                           Luzerne PA 18702




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Shrayer Law Firm, LLC.
                                           Glen H. Shrayer, Esq.
                                           912 South Andrews Avenue,
                                           Fort Lauderdale, FL 33316


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
          Case 8:19-cv-00423-WFJ-SPF Document 3 Filed 02/19/19 Page 2 of 6 PageID 68

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


          CHRISTOPHER MARK PARIS, and                                )
         OXEBRIDGE QUALITY RESOURCES                                 )
              INTERNATIONAL, LLC                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. CASE # 8:19-cv-00423
                                                                     )
                  WILLIAM LEVINSON,                                  )
               LEVINSON PRODUCTIVITY                                 )
               SYSTEM, PC, a Pennsylvania                            )
                   Corporation, et al.                               )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) LEVINSON PRODUCTIVITY SYSTEMS, P.C.
                                           6 Lexington Court Wilkes Barre
                                           Luzerne PA 18702




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Shrayer Law Firm, LLC.
                                           Glen H. Shrayer, Esq.
                                           912 South Andrews Avenue,
                                           Fort Lauderdale, FL 33316


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
          Case 8:19-cv-00423-WFJ-SPF Document 3 Filed 02/19/19 Page 3 of 6 PageID 69

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


          CHRISTOPHER MARK PARIS, and                               )
         OXEBRIDGE QUALITY RESOURCES                                )
              INTERNATIONAL, LLC                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. CASE # 8:19-cv-00423
                                                                    )
                  WILLIAM LEVINSON,                                 )
               LEVINSON PRODUCTIVITY                                )
               SYSTEM, PC, a Pennsylvania                           )
                   Corporation, et al.                              )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Marc Smith
                                           8466 Lesourdsville-West Chester Road
                                           West Chester OH 45069




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Shrayer Law Firm, LLC.
                                           Glen H. Shrayer, Esq.
                                           912 South Andrews Avenue,
                                           Fort Lauderdale, FL 33316


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
          Case 8:19-cv-00423-WFJ-SPF Document 3 Filed 02/19/19 Page 4 of 6 PageID 70

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        MiddleDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Florida


          CHRISTOPHER MARK PARIS, and                                 )
         OXEBRIDGE QUALITY RESOURCES                                  )
              INTERNATIONAL, LLC                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. CASE # 8:19-cv-00423
                                                                      )
                  WILLIAM LEVINSON,                                   )
               LEVINSON PRODUCTIVITY                                  )
               SYSTEM, PC, a Pennsylvania                             )
                   Corporation, et al.                                )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Daryl Guberman
                                           1538 West Broad Street
                                           Stratford CT 06615




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Shrayer Law Firm, LLC.
                                           Glen H. Shrayer, Esq.
                                           912 South Andrews Avenue,
                                           Fort Lauderdale, FL 33316


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
          Case 8:19-cv-00423-WFJ-SPF Document 3 Filed 02/19/19 Page 5 of 6 PageID 71

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        MiddleDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Florida


          CHRISTOPHER MARK PARIS, and                              )
         OXEBRIDGE QUALITY RESOURCES                               )
              INTERNATIONAL, LLC                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. CASE # 8:19-cv-00423
                                                                   )
                  WILLIAM LEVINSON,                                )
               LEVINSON PRODUCTIVITY                               )
               SYSTEM, PC, a Pennsylvania                          )
                   Corporation, et al.                             )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GUBERMAN-PMC, LLC
                                           1538 WEST BROAD ST,
                                           STRATFORD, CT, 06615




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Shrayer Law Firm, LLC.
                                           Glen H. Shrayer, Esq.
                                           912 South Andrews Avenue,
                                           Fort Lauderdale, FL 33316


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
          Case 8:19-cv-00423-WFJ-SPF Document 3 Filed 02/19/19 Page 6 of 6 PageID 72

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                        MiddleDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Florida


          CHRISTOPHER MARK PARIS, and                              )
         OXEBRIDGE QUALITY RESOURCES                               )
              INTERNATIONAL, LLC                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. CASE # 8:19-cv-00423
                                                                   )
                  WILLIAM LEVINSON,                                )
               LEVINSON PRODUCTIVITY                               )
               SYSTEM, PC, a Pennsylvania                          )
                   Corporation, et al.                             )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DONALD LABELLE
                                           44 Howarth Rd.
                                           OXFORD, MA 01540




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Glen Shrayer, Esq.
                                           912 South Andrews Avenue,
                                           Fort Lauderdale, FL 33316



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
